                                DECISION
{¶ 1} This cause came on to be considered upon a notice of appeal, the transcript of the docket and journal entries, the transcript of proceedings and original papers from the Clermont County Court of Common Pleas, a brief filed by appellant's counsel and the pro se brief of appellant, oral argument having been waived.
  {¶ 2} Counsel for defendant-appellant, Gregory G. Scott, has filed a brief with this court pursuant to Anders v. California
(1967), 386 U.S. 738, 87 S.Ct. 1396, which (1) indicates that a careful review of the record from the proceedings below fails to disclose any errors by the trial court prejudicial to the rights of appellant upon which an assignment of error may be predicated; (2) lists two potential errors "that might arguably support the appeal," Anders at 744, 87 S.Ct. at 1400; (3) requests that this court review the record independently to determine whether the proceedings are free from prejudicial error and without infringement of appellant's constitutional rights; (4) requests permission to withdraw as counsel for appellant on the basis that the appeal is wholly frivolous; and (5) certifies that a copy of both the brief and motion to withdraw have been served upon appellant.
  {¶ 3} Appellant has filed a pro se brief raising an assignment of error pertaining to ineffective assistance of trial counsel. We have accordingly examined the record and find no error prejudicial to appellant's rights in the proceedings in the trial court. Although appellant argues his trial counsel was ineffective for failing to provide available defenses to the charges, the transcript reveals that appellant indicated at the plea hearing that he was satisfied with the advice of his counsel. Therefore, the motion of counsel for appellant requesting to withdraw as counsel is granted, and this appeal is dismissed for the reason that it is wholly frivolous.
Powell, P.J., Walsh and Valen, JJ., concur.